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                         UNITED STATES DISTRICT COURT
                              DISTRICT OF MAINE

                                        )
                                        )
SCOTT FORTUNA,                          )
                                        )
                            Plaintiff,  )         CIVIL ACTION NO.
v.                                      )
                                        )
TOWN OF WINSLOW, WINSLOW                )
SCHOOL COMMITTEE a/k/a                  )
WINSLOW SCHOOL BOARD,                   )
WINSLOW PUBLIC SCHOOLS, and )
PETER THIBOUTOT, as                     )
Superintendent and in his individual    )
capacity,                               )
                            Defendants. )

       NOW COMES the Plaintiﬀ, Scott Fortuna, by and through his undersigned

Counsel and allege the following:

                                I.     INTRODUCTION

       1.     This action for declaratory, injunctive and other appropriate relief is

brought by Plaintiff Scott Fortuna to redress the intentional violations by Defendants and

other of the rights secured to him by the laws of the United States of America.

       2.     Parents possess a fundamental right to make decisions concerning the

medical care of their children. In Troxel v. Granville 530 U.S. 57, 65 (2000), the

Supreme Court affirmed that “the interest of a parent in the care, custody and control of

their children—is perhaps the oldest of the fundamental liberty interests recognized by

this Court. Id. The Court continued:


       More than 75 years ago, in Meyer v. Nebraska, 262 U. S. 390, 399, 401

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       (1923), we held that the "liberty" protected by the Due Process Clause
       includes the right of parents to "establish a home and bring up children" and
       "to control the education of their own." Two years later, in Pierce v. Society
       of Sisters, 268 U. S. 510, 534-535 (1925), we again held that the "liberty of
       parents and guardians" includes the right "to direct the upbringing and
       education of children under their control." We explained in Pierce that
       "[t]he child is not the mere creature of the State; those who nurture him and
       direct his destiny have the right, coupled with the high duty, to recognize
       and prepare him for additional obligations." Id., at 535. We returned to the
       subject in Prince v. Massachusetts, 321 U. S. 158 (1944), and again
       confirmed that there is a constitutional dimension to the right of parents to
       direct the upbringing of their children. "It is cardinal with us that the
       custody, care and nurture of the child reside first in the parents, whose
       primary function and freedom include preparation for obligations the state
       can neither supply nor hinder. Id. at 65-66.

       3.      On August 16, 2021, the Town of Winslow, (Winslow) by and through its

School Board a/k/a School Committee, mandated under the auspices of medical

intervention that all children wear masks while in school to protect them from Covid-19,

specifically, the “Delta Variant.”

       4.      Winslow’s mandate usurps Plaintiff’s fundamental right to make health and

educational decisions on behalf of his twelve-year-old daughter.

       5.      According to the Centers for Disease Control (CDC), common influenza is

a greater health threat to children than Covid-19; thus, it cannot be disputed that Covid-

19 presents little, if any, health risk to children.

       6.      In contrast, forcing young children to wear masks for eight hours a day

while attending school distracts children from learning, increases levels of carbon dioxide

in the blood, creates vectors for pathogens, and virtually eliminates non-verbal

communication, harming phonetic development and damaging human connection.

       7.      Put simply, it is Plaintiff’s right to decide whether detrimental effects of

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forcing his daughter to wear a mask outweigh the comparatively slight risk of becoming

seriously ill from Covid-19.

          8.    Maine law, including, but not limited to, 20-A M.R.S. § 5001-A requires

Plaintiff’s daughter to attend public school.

                                      II.    PARTIES

          9.    Scott Fortuna is the father of A.F. and resides in the County of Penobscot

and State of Maine. A.F. is obligated to attend the Winslow Junior High School, a part of

the Winslow Public Schools system in Winslow, Maine.

          10.   The Town of Winslow is a municipality in the County of Kennebec and

State of Maine.

          11.   The Winslow School Committee a/k/a Winslow School Board (WSC) is a

subdivision of the Town of Winslow and operates in the County of Kennebec and State

of Maine. All times material hereto, the WSC enjoyed policy-making authority and was

acting under color of state law.

          12.   Winslow Public Schools operates the Winslow Elementary, Winslow

Junior High School, and Winslow High School, in Winslow, Maine.

          13.   Peter Thiboutot, was at all times material acting under color of state law

and served as the superintendent of the Winslow Public School. Thiboutot at all times

material enjoyed policy-making authority, including the unconstitutional polices alleged

herein.




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                                  III.   JURISDICTION

       14.    Jurisdiction is conferred upon this court by the Fourteenth Amendment of the

Constitution of the United States and 42 U.S.C. § 1983 which provide original jurisdiction

for Plaintiff’s claims.

       15.    Jurisdiction over the state law claims is based on the principles of

supplemental jurisdiction, as codified at 28 U.S.C. § 1367.

       16.    The amount in controversy exceeds one hundred and fifty thousand dollars

($150,000).

                                            IV. VENUE

       17.    The Town of Winslow and the Winslow School Committee are located and

operate in Kennebec County, Maine. Kennebec County and Penobscot County are within

the territorial jurisdiction of this Court. This Court is therefore a proper venue for this

action under 28 U.S.C. § 1391(b)(1)-(2).

                            V.      STATEMENT OF FACTS

       A.     Background

       18.    On or about May 13, 2021, the CDC determined that masks were not

recommended for those twelve years of age or older who were fully vaccinated.

       19.    On July 9, 2021, the CDC stated that vaccinated teachers and students did

not need to wear masks inside school buildings.

       20.    Three weeks later, the CDC recommended that vaccinated teachers and

students should wear masks inside school buildings.

       21.    On August 1, 2021, the Winslow School Committee Superintendent, Peter

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Thiboutot, posted a message on the School Committee webpage notifying parents, in

pertinent part:

       One of the biggest changes the CDC has strongly recommended calls for
       universal indoor masking for all teachers, staff, students, and visitors to K-12
       schools, regardless of vaccination status. Children should return to full-time in-
       person learning in the fall with layered prevention strategies in place.
       ...

       The administrative team along with the school nurses and feedback from our
       Medical Provider met again this week to discuss the revised CDC
       recommendations. A unanimous decision was made to recommend to the board
       that we enact the CDC recommendations as a component of our return to school
       plan.

Full post available at: https://winslow.aos92.org/health-safety.

       22.     On August 16, the School Committee implemented a blanket mandatory

mask policy requiring all children, regardless of vaccination status, age, pre-existing

medical condition, classroom size or age, to wear masks while indoors indefinitely.

       23.     The School Committee implemented its mask policy arbitrarily and despite

the CDC’s finding that common influenza is a greater health threat to children than

Covid-19.

       24.        Further, the School Committee implemented its mask policy without any

consideration for the known negative effects posed by children wearing masks for eight

hours a day while attempting to learn.

       B.      There is No Evidence That the Delta Variant Poses An Increased
               Health Risk to Children Beyond the “Original” Covid-19 Strain

       25.     According to Defendant’s written statement set forth above, the sole basis

for their August 16th mask mandate is the emergence of the Delta Variant; however, there



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is no evidence whatsoever that the delta variant poses an increased risk to children,

vaccinated or unvaccinated.

       26.    The CDC reports that for the week of August 7 the rate of hospitalization

with Covid for children 5 to 17 was 0.1 per 100,000. Further, the CDC acknowledges that

not all of these children were in the hospital for Covid: Viral testing at admission is

routine, even for patients who have no Covid symptoms. See Marty Makary and H. Cody

Meissner, “The Case Against Masks for Children,” Wall St. J. Aug. 8, 2021. For

comparison purposes, the weekly peak for influenza hospitalization in 2020 was 2.3.

       27.    Superintendent Thibutot aggrandizes the risk to children from Covid-19,

especially after implementation of vaccines as noted in the below chart:




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       C.     Masks Are Not The Most Effective of Available Mitigation Techniques
              yet Pose The Most Adverse Side Effects In A School Setting

       28.    It is undisputed that most effective mitigation technique to reduce the

spread of covid-19 is physically distancing from one another; in the school setting, the

CDC recommends three feet between students.

       29.    Spacing children three feet apart while seated in a classroom under a

teacher’s supervision is easily accomplished and, according to the CDC, prevents

transmission of airborne virus particles.

       30.    Moreover, three feet of separation between students poses none of the

negative effects associated with wearing a mask for eight hours a day.

       31.    Likewise, frequent hand washing, proper ventilation and voluntary

vaccination all indisputably mitigate the spread of covid-19 and, unlike masking, do not

negatively impact the physical or mental wellbeing of children during school.

       32.    In contrast, the first randomized controlled trial evaluating the effectiveness

of face masks against SARS-CoV-2 were published in November of 2020. In that study,

Danish scientists and physicians evaluated 6000 individuals at the University of

Copenhagen, and concluded that wearing a high-quality surgical masks “did not reduce,

at conventional levels of statistical significance, incident SARS-CoV-2 infection.”

       33.    A May 21, 2020 New England Journal of Medicine article noted:

              We know that wearing a mask outside health care facilities offers
              little, if any protection from infection. Public health authorities
              define a significant exposure to Covid-19 as face-to-face contact
              within 6 feet with a patient with symptomatic Covid-19 that is

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               sustained for at least a few minutes. . .The chance of catching Covid-
               19 from a passing interaction in a public space is therefore
               minimal. In many cases, the desire for widespread masking is a
               reflexive reaction to anxiety over the pandemic.

         (emphasis added). Klompas, M.D. et al, Universal Masking in Hospitals in

the Covid-19 Era, N.E.J.M. May 21, 2020.

         34.   In addition, SARS-CoV-2 particles are 0.06 to 0.125 microns in size,

and masks and respirators filter particles 0.3 to .8 microns in size, therefore, masks

cannot serve to effectively filter and protect from COVID-19.

         35.   Moreover, the imposition of facemasks on children inhibits the child’s

ability to learn, as well as imposes serious physical and psychological harm on the

child. For instance, prolonged mask wearing has been shown to reduce oxygen intake

and increase carbon dioxide intake.

         36.   In terms of the child’s education, over 60% of interpersonal communication

is conveyed by non-verbal behaviors, and the forced mask mandate removes the ability of

a child to learn from non-verbal behaviors and instructions from their teacher and their

peers.

         37.   In addition, vaccines have made the Covid-19 virus less lethal, but the risk

of catching and dying from Covid-19 for someone under thirty years of age, even without

the vaccine is less than .0001%.

         38.   A recent study funded by the National Institutes of Health and conducted

by researchers from Rhode Island Hospital and Brown University found that “masks

worn in public settings and in school or daycare settings may impact a range of early


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developing skills, such as attachment, facial processing, and socioemotional processing.”

Sean Deoni et al., Impact of the COVID-19 Pandemic on Early Child Cognitive

Development: Initial Fundings in a Longitudinal Observational Study of Child Health,

August 10, 2021.

       D.     Mandating masks is akin to imposing a medical device, or medical
              intervention on a child, and as with any other similar procedure,
              requires parental consent.

       39.    A mask is akin to a medical device, such that mandating a mask on a child

is akin to mandating a child wear a medical device.

       40.    For any medical procedure, parental consent for a minor is obtained,

however, and in the context of the School Committee’s mask mandate, no such consent

was allowed by having the parents choose whether to require their child to wear a mask.

       E.     Other Maine Schools Have voted to Make Mask Wearing Optional in
              for Children

      41.     The Town of Lewiston voted on August 3, 2021, to make mask wearing

optional. School Committee member Janet Beaudoin stated “I don’t believe we, as a

board, have a right to tell parents that in order for their children to attend public school

in-person, that they need to wear a mask.”

      42.     On August 18, 2021, the Auburn and Hampden School Committees also

voted to make masks optional for children.

                             COUNT I
                     PLAINTIFF V. ALL DEFENDANTS
      VIOLATION OF SUBSTANTIVE DUE PROCESS under 42 U.S.C. 1983


       43.    Plaintiff incorporates by reference paragraphs all preceding paragraphs as if

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expressly set forth herein.

       44.    The Due Process Clause of the Fourteenth Amendment guarantees Plaintiff

the fundamental liberty interest in the care, upbringing and education of his child. By

extension, Plaintiff enjoys the fundamental right to make decisions concerning the

medical care of his child.

       45.    Defendants, by enacting a blanket policy requiring mandatory masking of

all children without substantive or temporal limitation, have infringed the Plaintiff’s

fundamental right.

       46.    Given the CDC’s conclusion that the common flu is a greater threat to

children than covid-19, the Defendants’ policy at issue does not serve a compelling

government interest. Stated another way, the government does not have interest in

preventing coughs, sneezes and runny noses.

       47.    Moreover, even if the government had a legitimate interest in preventing

coughs, sneezes and runny noses, the subject policy is not remotely narrowly tailored to

achieve this end because it has no end date, no exceptions and may be accomplished by

other means. By way of example, the policy could require masks when children are

walking to and from classes but not while they are seated at their desks three feet apart.

       48.    Likewise, the policy cannot be rationally related to a legitimate government

purpose as the efficacy of masks is a current subject of debate amongst experts. With this

being said, the policy infringes Plaintiff’s fundamental right and therefore must be

subject to strict scrutiny. See, e.g., Branch v. Newsom, No. 20-56291, 2021 WL

3124310, at * 17 (9th Cir. July 23, 2021) (“governmental actions that infringe upon

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a fundamental right receive strict scrutiny.”)

       49.    Facing the continued COVID-19 outbreak, Winslow School Committee has

reflexively acted to take what action IT deems necessary in ITS opinion to provide

medical care for its students. However, as has been only too common since the Pandemic

first began last March, it is clear that the Town of Winslow and the Winslow School

Committee acted without regard for the Plaintiff’s fundamental right in the care,

upbringing and education of his daughter, including the right to make medical care

decisions for his child. The Town of Winslow and the School Committee have thereby

infringed and deprived the Plaintiff of his fundamental right under the Constitution.

       50.    The School Committee and the Town of Winslow may believe they have

the police powers to make these decisions, however, the State of Emergency related to

COVID-19 has expired in Maine. The Pandemic and its associated restrictions have been

with us since March of 2020, and we now have a vaccine that has been widely used

throughout Maine to protect against the disease.

      51.     As noted above, the common flu and other virus pose a far greater risk to

children in school. This minimal risk to children must be balanced against the

infringement of the parent’s fundamental right to parent and to make medical decisions

for their child. With the benefits of masking largely only providing a psychological

benefit or a feeling of being protected, it is clear that the harm done to Plaintiff’s

fundamental rights in addition to the actual risks of causing psychological harm to the

child and impairing the child’s ability to learn, make it clear that the State does not satisfy

even rational basis review to impose the mask mandates. However, because Plaintiff’s

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fundamental right to parent is infringed, this Court must impose strict scrutiny review,

and it is clear that the mask mandates for children are not necessary to serve a compelling

state interest.

                           COUNT II
                   PLAINTIFF V. ALL DEFENDANTS
   VIOLATION OF NATURAL RIGHT UNDER MAINE CONSITUTION AND
                           MAINE LAW

       52.        Plaintiff incorporate all preceding paragraphs herein by reference.

       53.        Maine Statute provides that “parents are the joint and natural guardians of

   their minor children and are jointly entitled to the care, custody, control, services and

   earnings of their children.” 19-A M.R.S. § 1651.

       54.        Maine Courts have recognized that the “natural right of a parent to the care

   and control of a child should be limited only for the most urgent reasons.” Merchant

   v. Bussell, 27 A.2d 816, 139 Me. 118 (1942) see also Pitts v. Moore, 2014 ME 59, ¶

   12, 90 A.3d 1166 (“When the State does interfere with the fundamental right to

   parent, we must evaluate that interference with strict scrutiny—the highest level of

   scrutiny—which “requires that the State’s action be narrowly tailored to serve a

   compelling state interest.”).

       55.        The Maine Legislature stated “[i]t is the intent of the Legislature that the

   control and management of the public schools shall be vested in the legislative and

   governing bodies of local school administrative units, as long as those units are in

   compliance with appropriate state statutes.” 20-A M.R.S. § 2.



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          56.   By enacting a mandatory mask policy, all Defendants have infringed

   Plaintiff’s fundamental right to parent his child under State law. This has also

   exceeded and violated their mandate under Maine Law to enact policy that does not

   run counter to State law.

                                 COUNT III
                        PLAINTIFF V. ALL DEFENDANTS
                            PERMANENT INJUNCTION

          57.   Plaintiff incorporate all preceding paragraphs as if expressly set forth

herein.

          58.   The mask mandate imposed by the Winslow School Board will cause

Plaintiff irreparable injury.

          59.   Remedies, such as monetary damages are inadequate to compensate for that

injury.

          60.   Considering the balance of the infringement of the Plaintiff’s fundamental

constitutional rights, a remedy in equity is warranted.

          61.   The public interest would not be disserved by a permanent injunction,

rather the public would benefit by this Court upholding the Plaintiff’s fundamental right

to parent his child.



          WHEREFORE, Plaintiff respectfully requests this Honorable Court:

                a.     Enter a declaratory judgment that Defendant’s acts complained of

                       herein have violated and continue to violate the rights of Plaintiff.



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             b.     Permanently enjoin Defendants from continued enforcement of their

                    August 16, 2021 mask mandate as currently constructed;

             c.     Award Plaintiff compensatory damages including but not limited to:

                    pain, suffering, past economic loss, future economic loss, loss of

                    life’s pleasures, loss of reputation, benefits, emotional distress and

                    other damages;

             d.     Award reasonable costs and attorneys’ fees;

             e.     Award punitive damages; and

             f.     Grant any other relief this Court deems just and proper under the

                    circumstances.


                                     JURY DEMAND

        Under the Seventh Amendment to the U.S Constitution and Rule 38(b) of the
Federal Rules of Civil Procedure, Plaintiﬀs demand trial by jury on all issues so triable.




DATED: August 27, 2021                      ____/s/ Stephen C. Smith_____________
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DATED: August 27, 2021                   _____/s/ Joseph Guzzardo_________________
                                          Joseph Guzzardo, Esq. Bar No. 6702
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